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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                   Case No. 09-20187

D-1 RODRICK WILSON,

               Defendant.
                                                /

         ORDER ADOPTING PSYCHOLOGICAL EVALUATION AND DECLARING
                  DEFENDANT COMPETENT TO STAND TRIAL

         On February 11, 2010, the court conducted a hearing on the record to determine

whether Defendant Rodrick Wilson is competent to stand trial in the above-captioned

case. Defendant had been examined by a licensed psychologist, Charles R. Clark,

Ph.D. Clark submitted an eleven-page psychological evaluation of Defendant, which

the court finds to be thorough and dispositive, and the receipt of which both counsel

stipulated. Counsel for Defense agreed with Dr. Clark’s evaluation. The court finds that

Defendant Wilson is able to understand the nature and consequences of the

proceedings against him, and that he is able to assist properly in his defense. 18 U.S.C.

§ 4241.

         IT IS ORDERED that Clark’s Psychological Evaluation is adopted.

         IT IS FURTHER ORDERED that Defendant is DECLARED competent to stand

trial.

                                          S/Robert H. Cleland
                                         ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE
Dated: February 12, 2010
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, February 12, 2010, by electronic and/or ordinary mail.

                                                                    S/Lisa Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522




February 12, 2010:S:\Cleland\JUDGE'S DESK\C2 ORDERS\09-20187.Wilson.Order.Finding.Defendant.Wilson.Competent.wpd



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